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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


 IN RE JOHNSON & JOHNSON                         MDL NO. 16-2738 (FLW) (LHG)
 TALCUM POWDER PRODUCTS
 MARKETING, SALES PRACTICES,
 AND PRODUCTS LIABILITY
 LITIGATION


                  Plaintiff’s Proposed Status Conference Agenda
                                  January 23, 2017


      1. Direct Filing Order

      2. Preservation Order

      3. Protective Order

      4. ESI Protocol

      5. In Extremis Deposition Protocol

      6. Pathology Protocol

      7. Plaintiffs Fact Sheet and use of MDL Centrality

      8. Status of Discovery Requests
